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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK



                                                         Case No. 1:03-md-01570-GBD-SN
 In re TERRORIST ATTACKS ON
 SEPTEMBER 11, 2001                                      Hon. George B. Daniels
                                                         Hon. Sarah Netburn


 This document relates to: All Actions



              MATTHEW S. LEDDICOTTE’S NOTICE OF MOTION
         TO WITHDRAW AS COUNSEL TO THE REPUBLIC OF THE SUDAN

       PLEASE TAKE NOTICE that, pursuant to Local Civil Rule 1.4, and upon his

accompanying declaration, Matthew S. Leddicotte, hereby moves this Court, before the Honorable

George B. Daniels, United States District Judge, and the Honorable Sarah Netburn, United States

Magistrate Judge, at the United States District Court for the Southern District of New York,

40 Foley Square, New York, New York, 10007, on a date and at a time designated by the Court,

for an Order granting Matthew S. Leddicotte to withdraw as counsel for The Republic of the Sudan

in this action and all relevant sub-actions.

       As set forth in the attached declaration, withdrawal is necessary because the undersigned

will cease to be associated with White & Case LLP after April 13, 2023. White & Case LLP will

continue to serve as counsel for The Republic of the Sudan. My withdrawal will not occasion a

request for an extension of any deadlines in the case. I am not asserting a retaining or charging

lien in connection with my departure.
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       In connection with the withdrawal, the Clerk is request to remove the name of the

undersigned from the CM/ECF service list.

Dated: April 13, 2023                       Respectfully submitted,
       Washington, D.C.


                                             /s/ Matthew S. Leddicotte
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